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Ao` 91 (Rev. 03/09) emma complaint

 
   

 

 

 

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UNITED STATES DISTRICT CoURT §§ Fii§u ° §§§
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Southern District of Texas mda mi
United States of America )
J A lMEN`iJEz-P l ' ) ., / "
esusl\/len)§§c§;§an National aac|os ) Case NO' M /2 0 7@£ /§/\
YoB 1970 §
)
Defendanl(s)
CRIMINAL CoMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of Apri| 112018 in the county of HidBo in the
Southern District of Texas , the defendant(s) violated:
Code Section GJ§§ense Description
21 United States Code § 841 defendant did knowingly and intentionally posses with the intent to distribute

approximately 16.72 kilograms ot cocaine a scheduled ll controlled substance

21 United States Code § 952 did knowingly and intentionally import from the United Mexican states into the
United States approximately 16.72 kilograms of cocaine
a scheduled ll controlled substance

This criminal complaint is based on these facts:

sEE ATrAcHMENT “A"

v/ Continued on the attached sheet.

D§W°“’§§@“ /\/c‘@""°“"

Complainant ’s signature

Mark Quintani||a, TFO HSl

Prim‘ed name and title

SWom to before me and signed in my presence.

Date: 4/16/2018 §§ 2 7 °" ‘/" /§VZ_; ;M

Judge s signature

City and state: Nchllen, Texas Peter Ormsby, U.S. Nlagistrate Judge

Printed name and title

 

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Attachment “A”

On April 14, 2018, Homeland Security Investigations (HSI), McAllen, TeXas, was
notified by US Custorns and Border Protection (CBP) that Jesus Angel l\/[ENDEZ-
Palacios, along with his son, had attempted to make entry into the United States via
the Pharr Port of Entry in Pharr, Texas. l\/lENDEZ-Palacios was the driver and
owner of a black 2011 Dodge Ram displaying Mexican license plates ZXZSS4W.
MENDEZ-Palacios was selected for secondary inspection.

During secondary inspection, MENDEZ-Palacios’ vehicle was referred to Z-portal
in which CBP Ofticer noticed anomalies in the floor underneath the center console.
A K9 inspection of the vehicle resulted in a positive alert to the odor of narcotics
Upon further inspection of MENDEZ-Palacios’ Vehicle, CBP Ofiicer discovered
15 fifteen bricks of suspected narcotics concealed in a man-made compartment in
underneath the center console of the vehicle. A field test of the bricks indicated
that the substance tested positive for cocaine. The 15 bricks were weighed and a
total weight of 16.72 kilograms was reached.

CBP Ofticers conducted a pat down of l\/lENDEZ-Palacios and located a small
baggie containing cocaine residue in his groin area. MENDEZ-Palacios voluntarily
stated to CBP Ofiicers that he had consumed the cocaine to keep him calm as he
attempted to make entry into the United States.

HSI McAllen Special Agents responded to the Pharr Port of Entry to interview
MENDEZ-Palacios. Prior to reading l\/[ENDEZ-Palacios his Miranda Warnings,
l\/IENDEZ-Palacios advised that he knew he had problems, but his son (who was
travelling with him) had nothing to do with it. l\/[ENDEZ-Palacios was advised of
his Miranda Warnings in which MENDEZ-Palacios requested to have an attorney
present during questioning

